        Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 1 of 118




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


CHELTENHAM TOWNSHIP                                 :
                                                    :
            Plaintiff,                              :       Civil Action No.
vs.                                                 :
                                                    :
BOUCHER & JAMES, INC., ROSS G.                      :       NOTICE OF REMOVAL
BOUCHER, MARK W. EISOLD, DAVID R.                   :       Removed From:
JONES and JUDY STERN GOLDSTEIN                      :
                                                    :       Court of Common Pleas of
            Defendants                              :       Montgomery County, PA
                                                    :       (No. 2021-11363)

                                   NOTICE OF REMOVAL

TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF PENNSYLVANIA:

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446,

Defendant Boucher & James, Inc. ("B&J"), hereby removes the above-captioned action from the

Court of Common Pleas of Montgomery County, Pennsylvania to the United States District

Court for the Eastern District of Pennsylvania, and as grounds for removal state as follows:

BACKGROUND OF CASE AND TIMELINESS OF REMOVAL

       1.      On September 20, 2021, Cheltenham Township (“Plaintiff” or “Cheltenham”)

commenced a civil action, entitled Cheltenham Township v. Boucher & James Inc., Ross G.

Boucher, Mark W. Eisold, David R. Jones and Judy Stern Goldstein, No. 2021-11363, by filing a

Notice to Defend and Complaint in the Court of Common Pleas of Montgomery County,

Pennsylvania (the "State Court Action"). A true and correct copy of the Notice to Defend and

Complaint in the State Court Action is annexed hereto as Exhibit "A."
         Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 2 of 118




       2.       This basis for Plaintiff’s Complaint are various allegations regarding alleged

overbilling for work completed by Defendants for Plaintiff, and includes a civil claim under

RICO 18 U.S.C.A. § 1962(c), along with claims for conversion, common law fraud, unjust

enrichment, breach of contract, intentional misrepresentation, negligent misrepresentation, and

civil conspiracy against all Defendants, additional claims for negligence & negligence per se just

against Defendant Marc Eisold, Defendant David Jones & Defendant Judy Goldstein, and lastly

a claim for vicarious liability just against Defendant B&J. (See Exhibit A).

       3.       Plaintiffs served counsel for B&J with a copy of the Notice to Defend and

Complaint on September 20, 2021.

       4.       Accordingly, pursuant to 28 U.S.C. § 1446(b)(l), this Notice of Removal has been

timely filed within thirty (30) days after first receipt by B&J of the initial pleading in the State

Court Action.

THIS COURT HAS SUBJECT MATTER JURISDICTION UNDER 28 U.S.C. § 1332

       5.       Pursuant to 28 U.S.C. § 1441(a), a "civil action brought in a state court of which

the district courts of the United States have original jurisdiction, may be removed by the

defendant or defendants."

       6.       This Court has original jurisdiction over the State Court Action under 28 U.S.C.

§ 1331 because "The district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States." 28 U.S.C. § 1331.

       7.       Plaintiff asserts in is Complaint causes of action arising under RICO, 18 U.S.C.A.

§ 1962(c).
         Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 3 of 118




ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HA VE BEEN SATISFIED

       8.      Pursuant to 28 U.S.C. § 1446(a), a true and correct "copy of all process,

pleadings, and orders served upon B&J in the State Court Action is annexed to this Notice of

Removal as Exhibit "A."

       9.      As noted above, this Notice of Removal has been filed within thirty (30) days of

the date that B&J received the Notice to Defend and Complaint in the State Court Action and,

therefore, this Notice of Removal is timely under 28 U.S.C. § 1446(b)(l).

       10.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a)

because the United States District Court for the Eastern District of Pennsylvania is the federal

judicial district embracing the place where the State Court Action was brought and is pending

(i.e. , Montgomery County, Pennsylvania).

       11.      Promptly after filing this Notice of Removal, B&J will provide written notice to

Plaintiff, through its counsel, and will file a copy of this Notice of Removal with the Clerk of the

Court of Common Pleas of Montgomery County, Pennsylvania, as required by 28 U.S.C.

§ 1446(d).

       12.     This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of

Civil Procedure. See 28 U.S.C. § 1446(a).

CONCLUSION

       13.      As set forth above, this Court has subject matter jurisdiction over this matter

under 28 U.S.C. § 1331 because " The district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States." Therefore, this

action may be removed from state court under 28 U.S.C. § 144l(a).
         Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 4 of 118




       14.     By this Notice of Removal, B&J does not waive any objections or defenses that it

may have as to service of process, jurisdiction, or venue, or any other defenses or objections that

it may have to this action. B&J intends no admissions of fact, law, or liability by this Notice of

Removal, and expressly reserves all objections, defenses and motions

       WHEREFORE, B&J hereby removes this action from the Court of Common Pleas of

Montgomery County, Pennsylvania to the United States District Court for the Eastern District

of Pennsylvania.


                                              Respectfully submitted,

                                              JSDC Law Offices

Dated: 10/20/2021                     By:     ___/s/ Kimberly A. Bonner______ ____________
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                                              Scott A. Dietterick, Esquire (PA ID # 55650)
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                                              Hershey, PA 17033
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                                              Attorney for Defendant Boucher & James Inc
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 5 of 118




        EXHIBIT “A”
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 6 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 7 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 8 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 9 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 10 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 11 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 12 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 13 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 14 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 15 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 16 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 17 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 18 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 19 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 20 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 21 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 22 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 23 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 24 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 25 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 26 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 27 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 28 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 29 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 30 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 31 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 32 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 33 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 34 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 35 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 36 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 37 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 38 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 39 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 40 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 41 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 42 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 43 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 44 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 45 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 46 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 47 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 48 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 49 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 50 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 51 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 52 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 53 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 54 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 55 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 56 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 57 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 58 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 59 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 60 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 61 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 62 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 63 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 64 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 65 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 66 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 67 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 68 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 69 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 70 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 71 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 72 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 73 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 74 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 75 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 76 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 77 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 78 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 79 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 80 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 81 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 82 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 83 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 84 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 85 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 86 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 87 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 88 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 89 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 90 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 91 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 92 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 93 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 94 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 95 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 96 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 97 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 98 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 99 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 100 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 101 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 102 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 103 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 104 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 105 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 106 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 107 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 108 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 109 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 110 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 111 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 112 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 113 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 114 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 115 of 118
Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 116 of 118
       Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 117 of 118




                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

CHELTENHAM TOWNSHIP                           :
         Plaintiff,                           :    Civil Action No.
vs.                                           :
BOUCHER & JAMES, INC., ROSS G.                :
BOUCHER, MARK W. EISOLD, DAVID R.             :    Removed From:
JONES and JUDY STERN GOLDSTEIN                :
                                              :    Court of Common Pleas of
           Defendants                         :    Montgomery County, PA
                                              :    (No. 2021-11363)
                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies a true and correct copy of the foregoing Notice of
Removal was served on the following via email and/or First-Class Mail, postage pre-paid this
20th day of October 2021:

Mark F. Himsworth, Esquire-Hamburg, Rubin, Mullin, Maxwell & Lupin, 375 Morris Road
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Ross G. Boucher- 712 Granada Avenue, Unit #2, Venice FL 34285


                                            Respectfully submitted,

                                               JSDC LAW OFFICES

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       Case 2:21-cv-04596-KSM Document 1 Filed 10/20/21 Page 118 of 118




                                      CERTIFICATION



       I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.




                                            Respectfully submitted,



                                            JSDC Law Offices




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